Case 1:14-cv-00559-SLR-SRF Document 119 Filed 03/30/15 Page 1 of 2 PageID #: 6367



                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE

  CRYOLIFE, INC.,                                    )
                                                     )
                         Plaintiff,                  )
                                                     )
                  v.                                 ) C.A. No. 14-559 (SLR)
                                                     )
  C.R. BARD, INC., DAVOL, INC. and                   )
  MEDAFOR, INC.,                                     )
                                                     )
                         Defendants.                 )

                   [PROPOSED] ORDER ON PRELIMINARY INJUNCTION

         In accordance with and for the reasons stated in the Court’s Memorandum Order of

  March 10, 2015 (D.I. 116), Medafor, Inc.’s Motion for Preliminary Injunction (D.I. 40) having

  been granted;

         IT IS HEREBY ORDERED THAT:

         Except as provided in 35 U.S.C. § 271(e)(1), CryoLife, Inc., and its successors-in-

  interest, officers, agents, servants, employees and attorneys, and those persons in active concert

  or participation with them who receive actual notice of this Order by personal service or

  otherwise, are hereby enjoined from using, offering to sell, selling, marketing, or distributing any

  PerClot product in the United States.

         Pursuant to Federal Rule of Civil Procedure 65(c), this Court orders that if this Court or

  another court of competent jurisdiction finds this preliminary injunction wrongfully enjoined

  CryoLife, Medafor shall pay CryoLife $100,000 within ten (10) days of the order vacating or

  reversing this injunction. Medafor represents that it is able to pay this amount of money if the

  condition above is met, and CryoLife agrees with that representation. This Court finds, and all

  parties stipulate, that the requirements of this paragraph are proper and adequate security for this

  injunction pursuant to Federal Rule of Civil Procedure 65(c).
Case 1:14-cv-00559-SLR-SRF Document 119 Filed 03/30/15 Page 2 of 2 PageID #: 6368



         This injunction shall remain in full force and effect until the earliest of: any further

  orders of this Court; or further order of the United States Court of Appeals for the Federal Circuit

  to which an appeal or other relief from the injunction may be taken, vacating, staying,

  modifying, or otherwise altering this injunction.

  Dated at Wilmington, Delaware this _____ day of March, 2015.



                                                          ________________________________
                                                          Honorable Sue L. Robinson
                                                          United States District Judge




                                                      2
